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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
____________________________________________

ISAAC WIESENFELD on behalf of himself and
all other similarly situated consumers

                              Plaintiff,

              -against-

MCCARTHY, BURGESS & WOLFF, INC.

                        Defendant.
____________________________________________

                               CLASS ACTION COMPLAINT

                                       INTRODUCTION

1.    Plaintiff, Isaac Wiesenfeld, brings this action on behalf of himself and all others similarly

      situated, by way of this Class Action Complaint for the illegal practices of Defendant,

      McCarthy, Burgess & Wolff, Inc. who, inter alia, used false, deceptive, and misleading

      practices, and other illegal practices, in connection with its attempts to collect an alleged

      debt from the Plaintiff and others.

2.    The Plaintiff alleges that Defendant's collection practices violate the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”). Such collection practices include,

      inter alia:

           a) Leaving telephonic voice messages for consumers, which fail to provide

               meaningful disclosure of Defendant's identity;

           b) Leaving telephonic voice messages for consumers, which fail to disclose that the

               call is from a debt collector; and

           c) Leaving telephonic voice messages for consumers, which fail to disclose the

               purpose or nature of the communication (i.e. an attempt to collect a debt).




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3.    The FDCPA regulates the behavior of collection agencies attempting to collect a debt on

      behalf of another. The United States Congress has found abundant evidence of the use of

      abusive, deceptive, and unfair debt collection practices by many debt collectors, and has

      determined that abusive debt collection practices contribute to a number of personal

      bankruptcies, marital instability, loss of jobs, and invasions of individual privacy.

      Congress enacted the FDCPA to eliminate abusive debt collection practices by debt

      collectors, to ensure that those debt collectors who refrain from using abusive debt

      collection practices are not competitively disadvantaged, and to promote uniform State

      action to protect consumers against debt collection abuses. 15 U.S.C. § 1692(a) - (e).

4.    The FDCPA is a strict liability statute, which provides for actual or statutory damages

      upon the showing of one violation. The Second Circuit has held that whether a debt

      collector's conduct violates the FDCPA should be judged from the standpoint of the "least

      sophisticated consumer." Clomon v. Jackson, 988 F.2d 1314 (2d Cir. 1993).

5.    To prohibit harassment and abuses by debt collectors, the FDCPA, at 15 U.S.C. § 1692d,

      provides that a debt collector may not engage in any conduct the natural consequence of

      which is to harass, oppress, or abuse any person in connection with the collection of a

      debt and names a non-exhaustive list of certain per se violations of harassing and abusive

      collection conduct. 15 U.S.C. § 1692d(l)-(6). Among the per se violations prohibited by

      that section are: the placement of telephone calls without meaningful disclosure of the

      caller's identity. 15 U.S.C. § 1692d(6).

6.    To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the use of

      false, deceptive, and misleading collection practices and names a non-exhaustive list of

      certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-

      (16). Among the per se violations prohibited by that section are: using any false




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      representation or deceptive means to collect or attempt to collect any debt or to obtain

      information concerning a consumer, 15 U.S.C. § 1692e(10); the failure by debt collectors

      to disclose in initial oral communications that the debt collector is attempting to collect a

      debt and that any information obtained will be used for that purpose, 15 U.S.C. §

      1692e(11); and the failure by debt collectors to disclose in subsequent oral

      communications with consumers that the communication is from a debt collector, 15

      U.S.C. § 1692e(11).

                                           PARTIES

7.    At all times relevant to this lawsuit, Plaintiff is citizen of the State of New York who

      resides within this District.

8.    Plaintiff is consumer as that term is defined by 15 U.S.C. § 1692(a)(3) of the FDCPA.

9.    The alleged debt that Defendant sought to collect from Plaintiff involves a consumer

      debt, although the account may have been labeled as a business debt, the account was

      used for personal purposes.

10.   At all times relevant to this lawsuit, Defendant's principal place of business was located

      within Cleveland, Ohio.

11.   Defendant is regularly engaged upon, for profit, in the collection of allegedly owed

      consumer debts.

12.   Defendant is a “debt collector” as specifically defined by the FDCPA, 15 U.S.C. §

      1692(a)(6).

                                      JURISDICTION & VENUE

13.   Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.




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14.   Venue is appropriate in this federal district pursuant to 28 U.S.C. § 1391(b) because a

      substantial part of the events giving rise to the claims of Plaintiff occurred within this

      federal judicial district.

                         FACTS PARTICULAR TO ISAAC WIESENFELD

15.   Upon information and belief, on a date better known by Defendant, Defendant began to

      attempt to collect an alleged consumer debt from the Plaintiff.

16.   Within the one year immediately preceding the filing of this complaint, the Defendant

      contacted the Plaintiff on multiple occasions via telephone and left numerous voice

      messages in an attempt to collect the alleged obligation.

17.   By way of limited example only, the following is a transcript of one such message that

      Defendant left for Plaintiff on his cellular telephone voicemail system on or about

      September 16, 2015:

            “This message is for Isaac, Isaac, contact Ms. Spencer with the offices
            of McCarthy Burgess and Wolff. The number to reach my office is
            440-735-5100 ext. 2227. I am contacting you in reference to the file
            number of 25542205. I look forward to your return phone call. It is
            very time sensitive and imperative that we speak.”

18.   At the time Plaintiff received the said messages, he did not know the identity of the

      caller.

19.   At the time Plaintiff received the said messages, he did not know that the caller was a

      debt collector.

20.   At the time Plaintiff received the said messages, he did not know that the call concerned

      the collection of a debt.

21.   Each of the messages is a "communication" as defined by 15 U.S.C. § 1692a(2).

22.   Each of the messages was left by persons employed by Defendant as non-attorney debt

      collectors in connection with the collection of a "debt" as defined by 15 U.S.C. §




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      1692a(5).

23.   Each of the above messages uniformly failed to identify the callers as debt collectors

      attempting to collect a debt.

24.   The only way for Plaintiff and/or any least sophisticated consumer to obtain the identity

      of the caller leaving the messages, and to ascertain the purpose underlying the messages,

      was to place a return call to the telephone number provided in the messages and speak

      with a debt collector employed by McCarthy, Burgess & Wolff, Inc., and to provide the

      debt collector with personal information.

25.   The Defendant intended that the messages have the effect of causing Plaintiff, and other

      least sophisticated consumers, to place return calls to the telephone number provided in

      the messages and to speak with their debt collectors, and then provide those debt

      collectors with their personal information, as the sole means of obtaining the identity of

      the caller leaving the messages, and to ascertain the purpose underlying the messages.

      Scores of federal court decisions -- including the 2nd Circuit Court of Appeals and

      District Courts within the State of New York -- uniformly hold that the FDCPA requires

      debt collectors to provide meaningful identification of itself in telephonic voice messages

      left for consumers, such as the said messages, by accurately stating the name of the debt

      collection company and stating the nature and/or purpose of the call.

26.   At all times relevant to this action, McCarthy, Burgess & Wolff, Inc. was aware of the

      substantial weight of legal authority requiring it to provide meaningful identification of

      itself in telephonic voice messages left for consumers, such as the said messages, by

      accurately stating its company name and stating the nature and/or purpose of the call.

27.   At all times relevant to this action, McCarthy, Burgess & Wolff, Inc. willfully,

      deliberately, and intentionally chose not to provide meaningful identification of itself in




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      telephonic voice messages left for consumers, such as the said messages, by accurately

      stating its company name and stating the nature and/or purpose of the call.

28.   The Defendant's act of leaving the said messages for Plaintiff is conduct the natural

      consequences of which is to harass, oppress, or abuse a person in connection with the

      collection of a debt and is in violation of the FDCPA.

29.   The Defendant's act of leaving the said messages for Plaintiff constitutes the use of a

      false, deceptive, or misleading representation or means in connection with the collection

      of a debt and is in violation of the FDCPA.

30.   The FDCPA secures a consumer's right to have a debt collector cease further

      communications with the consumer. By failing to meaningfully identify itself, disclose

      the purpose of its call and state that McCarthy, Burgess & Wolff, Inc. is a debt collector

      in a manner understandable to the least sophisticated consumer, the Defendant has

      engaged in conduct designed to deprive consumers of their right to have a debt collector

      cease further communications.

31.   It is Defendant's policy and practice to leave telephonic voice messages for consumers

      and other persons, such as the above said messages, that violate the FDCPA by, inter alia:

         (a)      Failing to disclose that the call is from a debt collector; and

         (b)      Failing to provide meaningful disclosure of Defendant's identity; and

         (c)      Failing to disclose the purpose or nature of the communication, i.e. an

                  attempt to collect a debt.

32.   Upon information and belief, such messages, as alleged in this complaint, number at least

      in the hundreds.

33.   Defendant has engaged in a pattern of leaving messages without disclosing that the

      communication is from a debt collector.




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34.   The said telephone messages are in violation of 15 U.S.C. §§ 1692d, 1692d(6), 1692e(10)

      and 1692e(11) for failing to indicate that the messages were from a debt collector which

      constitutes a deceptive practice.

35.   Plaintiff suffered injury in fact by being subjected to unfair and abusive practices of the

      Defendant.

36.   Plaintiff suffered actual harm by being the target of the Defendant's misleading debt

      collection communications.

37.   Defendant violated the Plaintiff's right not to be the target of misleading debt collection

      communications.

38.   Defendant violated the Plaintiff's right to a truthful and fair debt collection process.

39.   Defendant used materially false, deceptive, misleading representations and means in its

      attempted collection of Plaintiff's alleged debt.

40.   Defendant's communications were designed to cause the debtor to suffer a harmful

      disadvantage in charting a course of action in response to the Defendant's collection

      efforts.

41.   The FDCPA ensures that consumers are fully and truthfully apprised of the facts and of

      their rights, the act enables them to understand, make informed decisions about, and

      participate fully and meaningfully in the debt collection process. The purpose of the

      FDCPA is to provide information that helps consumers to choose intelligently. The

      Defendant's false representations misled the Plaintiff in a manner that deprived him of his

      right to enjoy these benefits, these materially misleading statements trigger liability under

      section 1692e of the Act.

42.   These deceptive communications additionally violated the FDCPA since they frustrate

      the consumer’s ability to intelligently choose his or her response.




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43.   Plaintiff seeks to end these violations of the FDCPA. Plaintiff has suffered damages

      including but not limited to, fear, stress, mental anguish, emotional stress and acute

      embarrassment. Plaintiff and putative class members are entitled to preliminary and

      permanent injunctive relief, including, declaratory relief, and damages.

                                       CLASS ALLEGATIONS

44.   This action is brought as a class action. Plaintiff brings this action on behalf of himself

      and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

      Rules of Civil Procedure.

45.   With respect to the Plaintiff's Class, this claim is brought on behalf of a class of (a) all

      persons in the State of New York. (b) for whom McCarthy, Burgess & Wolff, Inc. left a

      voicemail or answering machine message, in the form of the above said messages, (c)

      that did not identify McCarthy, Burgess & Wolff, Inc. by its true company name or state

      that the call was for collection purposes (d) made in connection with McCarthy, Burgess

      & Wolff, Inc.'s attempt to collect a debt (e) which the said messages violate the FDCPA

      (f) during a period beginning one year prior to the filing of this initial action and ending

      21 days after the service of the initial complaint filed in this action.

46.   The identities of all class members are readily ascertainable from the records of

      McCarthy, Burgess & Wolff, Inc. and those business and governmental entities on whose

      behalf it attempts to collect debts.

47.   Excluded from the Plaintiff's Class is the Defendant and all officers, members, partners,

      managers, directors, and employees of McCarthy, Burgess & Wolff, Inc., and all of their

      respective immediate families, and legal counsel for all parties to this action and all

      members of their immediate families.




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48.   There are questions of law and fact common to the Plaintiff's Class, which common

      issues predominate over any issues involving only individual class members. The

      principal issues are whether the Defendant's telephonic voice messages, such as the above

      said messages, violate 15 U.S.C. §§ 1692d, 1692d(6), 1692e(10), and 1692e(11).

49.   The Plaintiff's claims are typical of the class members, as all are based upon the same

      facts and legal theories.

50.   The Plaintiff will fairly and adequately protect the interests of the Plaintiff's Class defined

      in this complaint. The Plaintiff has retained counsel with experience in handling

      consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

      his attorneys have any interests, which might cause them not to vigorously pursue this

      action.

51.   This action has been brought, and may properly be maintained, as a class action pursuant

      to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

      well-defined community interest in the litigation:

         (a)      Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                  that the Plaintiff's Class defined above is so numerous that joinder of all

                  members would be impractical.

         (b)      Common Questions Predominate: Common questions of law and fact exist

                  as to all members of the Plaintiff's Class and those questions predominate

                  over any questions or issues involving only individual class members. The

                  principal issues are whether the Defendant's telephonic voice messages, such

                  as the above said messages violate 15 U.S.C. §§ 1692d, 1692d(6), 1692e(10),

                  and 1692e(11).




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          (c)   Typicality: The Plaintiff's claims are typical of the claims of the class

                members. Plaintiff and all members of the Plaintiff's Class defined in this

                complaint have claims arising out of the Defendant's common uniform

                course of conduct complained of herein.

          (d)   Adequacy: The Plaintiff will fairly and adequately protect the interests of

                the class members insofar as Plaintiff has no interests that are adverse to the

                absent class members. The Plaintiff i s committed to vigorously litigating

                this matter. Plaintiff has also retained counsel experienced in handling

                consumer lawsuits, complex legal issues, and class actions. Neither the

                Plaintiff nor his counsel have any interests, which might cause them not to

                vigorously pursue the instant class action lawsuit.

          (e)   Superiority: A class action is superior to the other available means for the

                fair and efficient adjudication of this controversy because individual

                joinder of all members would be impracticable. Class action treatment

                will permit a large number of similarly situated persons to prosecute their

                common claims in a single forum efficiently and without unnecessary

                duplication of effort and expense that individual actions would engender.

                Certification of a class under Rule 23(b)(l)(A) of the Federal Rules of Civil

                Procedure is appropriate because adjudications with respect to individual

                members create a risk of inconsistent or varying adjudications which could

                establish incompatible standards of conduct for Defendant who, on

                information and belief, collects debts throughout the United States of

                America.




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 52.     Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure is

         also appropriate in that a determination that the said messages violate 15 U.S.C. §§

         1692d, 1692d(6), 1692e(10), and/or 1692e(11) is tantamount to declaratory relief and any

         monetary relief under the FDCPA would be merely incidental to that determination.

 53.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

         also appropriate in that the questions of law and fact common to members of the

         Plaintiff’s Class predominate over any questions affecting an individual member, and a

         class action is superior to other available methods for the fair and efficient adjudication of

         the controversy.

 54.     Further, Defendant has acted, or failed to act, on grounds generally applicable to the Rule

         (b)(l)(A) and (b)(2) Class, thereby making appropriate final injunctive relief with respect

         to the Class as a whole.

 55.     Depending on the outcome of further investigation and discovery, Plaintiff may, at the

         time of class certification motion, seek to certify one or more classes only as to particular

         issues pursuant to Fed. R. Civ. P. 23(c)(4).

                                    FIRST CAUSE OF ACTION

       Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf
                of himself and the members of a class, as against the Defendant.

 56.     Plaintiff re-states, re-alleges, and incorporates herein by reference, paragraphs one (1)

         through fifty five (55) as if set forth fully in this cause of action.

 57.     Defendant violated the FDCPA. Defendant's violations with respect to the above said

         messages include, but are not limited to, the following:

             (a)      Engaging in conduct the natural consequence of which is to harass, oppress,

                      or abuse any person in connection with the collection of a debt, in violation

                      of 15 U.S.C. § 1692d;




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              (b)       Leaving telephonic voice messages which fail to disclose the purpose or

                        nature of the communication (i.e., an attempt to collect a debt), in violation of

                        15 U.S.C. § 1692d(6);

              (c)       Using a false representation or deceptive means to collect or attempt to

                        collect any debt or to obtain information concerning a consumer, in violation

                        of 15 U.S.C. § 1692e(10);

              (d)       Failing to disclose in its initial communication with the consumer, when that

                        communication is oral, that Defendant, McCarthy, Burgess & Wolff, Inc. was

                        attempting to collect a debt and that any information obtained will be used for

                        that purpose, in violation of 15 U.S.C. § 1692e(11); and

              (e)       Failing to disclose in all oral communications that McCarthy, Burgess &

                        Wolff, Inc. is a debt collector, in violation of 15 U.S.C. § 1692e(11).

                                         PRAYER FOR RELIEF

 58.    As a direct and proximate result of these violations of the above FDCPA violations,

        Plaintiff and class members have suffered harm and are entitled to preliminary and

        permanent injunctive relief, and to recover actual and statutory damages, costs and

        attorney's fees.

 WHEREFORE, Plaintiff, respectfully requests that this Court enter judgment in Plaintiff's favor

 and against the Defendant and award damages as follows:

        (a)         Statutory and actual damages provided under the FDCPA, 15 U.S.C. § 1692(k);

        (b)         Attorney fees, litigation expenses and costs incurred in bringing this action; and

        (c)         An order enjoining and directing Defendant to comply with the FDCPA in its debt

                    collection activities, including without limitation:




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                 (i)     Directing Defendant to cease engaging in debt collection practices that

                         violate the FDCPA; and

         (d)     Any other relief that this Court deems appropriate and just under the

                 circumstances.

 Dated: Brooklyn, New York
        August 30, 2016

                                                    /s/ Maxim Maximov_____
                                                  Maxim Maximov, Esq.
                                                  Attorneys for the Plaintiff
                                                  Maxim Maximov, LLP
                                                  1701 Avenue P
                                                  Brooklyn, New York 11229
                                                  Office: (718) 395-3459
                                                  Facsimile: (718) 408-9570
                                                  E-mail: m@maximovlaw.com

 Plaintiff requests trial by jury on all issues so triable.

                                                    /s/ Maxim Maximov_____
                                                   Maxim Maximov, Esq.




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